Case 2:04-cr-20462-.]PI\/| Document 47 Filed 05/13/05 Page 1 of 2 Page|D 76

IN THE UNITED sTATEs DISTRICT coURT ' "3""" __ 5 iJ.¢.’;,
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN

 

 

U`NITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. O4-20462-Ml

COLUMBUS IRVIN

"’~._,

Defendant. )

 

ORDER ON' CHANGE OF PLEA

 

This cause came to be heard on May 12, 2005, the United States
Attorney for this district, Tim DiScenza, appearing for the Government and
the defendant, Colum]ous Irvin, appearing in person and with counsel, Stephen
Sauer, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea Of guilty to Count l of the
Indictment,

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, AUGUST 11_. 2005, at 8:45
a.m., in Courtroom No. 4, on the 9“‘ floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

EN‘I'ERED this the y\ day of May, 2005.

wm@l<il

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JU'DGE

 

Th'ls document entered on the docket sheets

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with Hule 55 and/or 32{b1 FRCrP on

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

    

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This notice confirms a copy of the document docketed as number 47 in
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Honorable Jon McCalla
US DISTRICT COURT

